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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MAMED SAMEDOV,                               )
                                             )
                      Plaintiff,             )       4:12-cv-00808-ERW
                                             )
       v.                                    )       Judge Webber
                                             )
HUNTER WARFIELD, INC.,                       )
                                             )
                      Defendant.             )

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                          PURSUANT TO SETTLEMENT

       NOW COMES the Plaintiff, MAMED SAMEDOV, by and through his attorneys,

LARRY P. SMITH & ASSOCIATES, LTD., and for his Notice of Voluntary Dismissal, Plaintiff

states as follows:

       1.      Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

               hereby notifies this Honorable Court that the Plaintiff voluntarily dismisses his

               case pursuant to a settlement agreement reached by the parties.

       2.      The Defendant in this case has filed neither an answer to Plaintiff’s complaint nor

               a motion for summary judgment.

       3.      Plaintiff requests that this case be dismissed with prejudice and without costs to

               any party, all costs having been paid and all matters in controversy for which this

               action was brought having been fully settled, compromised and adjourned.


                                                            Respectfully submitted,
                                                            MAMED SAMEDOV

                                                     By:     s/ David M. Marco
                                                             Attorney for Plaintiff



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Dated: August 2, 2012

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